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            ATTACHMENT A
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                                                               Friday, July 22, 2022 at 09:49:32 Central Daylight Time


Subject: Giu reffit character letter
Date:     Friday, July 22, 2022 at 12:47:49 AM Central Daylight Time


To:       Clint Broden

My name is Emily Bryant. I met Guy Reffit 25 years ago. At that time I was a single mom 18yo, working at Dairy Queen
in Canton, Tx. My manager was a widow who lost her husband to a grand Mal seizure years earlier. Her name was
sharon .. I had a tradition of bringing sharon thanksgiving and Christmas dinner for years before meeting Guy. I
started working at DQ at 16yo. 2 years later, when I was 18yo, I was in a very dark place. I had become a drug addict
and had turned over most responsibility of my son to my parents. Nonetheless, that Thanksgiving I showed up at
sharon's with leftover Turkey and dressing. That's when I met guy. He saw my face and realized what a wasted human
spirit I had become. He understood I had a young son, but also realized I needed my own healing. He took me to his
dallas apartment and helped me get clean. After that he provided an apartment for me and my young son to live
while I was able to get on my feet. Today I work at a drug and alcohol treatment center for youth and young adults.
The life I used to live was a curse to my family, to society, to humanity. I am asking the court to please consider the
human being that is behind any court proceeding or sentence. The human being that rescued me and turned lives
around for me, my family, and everyone we have encountered since then. Please consider the family he brought up.
He brought up kids confident in being their true,. authentic selves. Even if that didnt agree with Guys opinion .. you are
punishing the wrong person. Guy would be doing good in the world if he were not locked up. He and his wife, nicole,
were the only ones that came to stay with me on 01-07-2021. Yes,the day after the Capitol riots. I lost my sons father
                                                    •
on Christmas day 2020 and within the week lost my own husband on new years eve 2020. Despite what you THINK
he was concerned about on Jan 6, he was more concerned for MY wellbeing. I had suffered an enormous amount of
loss, was not even able to get out of my bed. He did not tell me any war stories of the Capitol riot. He didnt mention
trump. He was just there. HE CANT DO THAT FORANYONE NOW. Such a waste. I hope someone can see it as clearly
as me. God speed.this has lasted far too long




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